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                            UNITED STATESDISTRICT COURT
                            SOUTHERNDTSTRICTOF GEORGIA
                                 SAVANNAHDIVISTON

                                                                                   CV{t8*100
                                                                            I
ANTHONYOLIVER,an individual;                                                    No.:
                                                                            iCase
                                                                            :
                                                                            )
                      Plaintiffs,                                           )COMPLAINT FOR CIVIL RIGHTS
                                                                            )VIOLATIONSAND INJUNCTIVE
vs.                                                                         )42U.S.C.$ 1983
                                                                            )
CITY OF POOLER.a publicentitv;CITY OF                                       )DEMANDFORJURY TRTAL
SAVANNAH.a publiientitv;CITY OF PORT                                         )
WENTWORTH.'a                 p   u   b  l i c                    t vI;T YO F
                                            m r i n i c i p a l iC
B L O O M I N G D A La            Ep. u b l i ce n t i t yS; T A T EO F
C E O R G I Aa. s t a t em u d i c i p a l i tNyA         ; T H A ND E A L ,
in hisolficialcapacity                asCOVERNORCHARLES
DAVIS.in his iidividualcapacity;                          ADAM WILLIS,
in hisindividual         capacirvt           ADRIANCATES,in his
individua       cal oacitM      v l A T TL I B B Y ,i n h i si n d i v i d u a l
andofficialc'apacity;             ASHLEYBROWN,individual
andofficialcabacitv;               MARK REVENEW,in his
i n d i v i d u a ln d ' o f f i i i ac la p a c i tByL A I RJ E F F C O A T ,
in his individualandofficialc'apacity;                        DOES1-10,
inciusive.

                      Defendants.




            COMPLAINTFORCIVIL RIGHTSAND INJUNCTIVERELIEF
                                               4 2 U . S . C$. 1 9 8 3
                                      l
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                                 l       1 Filed 05/01/18 Page 2 of 32




                              INTRODUCTION
      1.    Collectively,Defendantsengagein a pattemor practiceof unlawful
                                                   arrest,detain,incarcerate,
conductthroughwhich they routinelyand systematically
issuecitationsandbeatinnocentpeopleand citizensof the communitiesin the
SouthernDistrictof Georgia.Without eventhe mostbasicproceduralsafeguards,
and in violationofthesecitizensfederalconstitutionalcivil rights,Defendants
             think they can do whateverstrikestheir fancy.Evenif that means
systematically
                                    to carryout their maliciousand
                            resources
usingpoliceandlaw enforcement
sadisticviolationsof criminaland civil law.
      2.    It is well establishedthat the Defendantsand other law enforcement
agenciesthroughoutthe StateofGeorgia seemto believethat they arefar above
the laws.
      3.    The Defendantsoperatethe "good old boy system"to the extentthat
                                                       shootunarmedcitizensand
eachotherwill lie, cheat,steal,file falsepolice reports,,
thenlie for oneanotheragain,this is the casehere.
      4.    The Stateof Georgia,C'STATE OF GA") operatesan arm of the State
                                            ("GADOT").
calledthe GeorgiaDepaftmentof Transportation.,
      5.    Throughthe GADOT, uponinformationandbelief,,payslocal law
          agenciesin certaincountieswhereroadwork in beingdoneto help
enforcement
and provide securitydetailsto ensurethe lives and safetyof not only the GADOT
workers,but alsothe lives of the commuters.The GADOT andthe STAET OF GA
             for payingdifferentpolice agenciesfor the securityservicesof all
is responsible
policeandsheriffofficersw'hoprovidesecurityto the rvorkdetails.Unlike other
Statesaroundthe Countrylike Michigan,Illinois, Florida,Utah andCaliforniafor
example,thoseStatesutilize a StateTrooperto providesecurityfor the safetyof
the citizensandworkerson all constructionsites.
                                  l
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      6.    ln the Stateof Georgia,this isn't the case.The STATE OF GA spends
millionsol dollarseachfiscalyearthat payslocal city and countypoliceto proyide
suchsecurity.Shouldthe STATE OF GA eliminatethis "good old boy" program,
                                                                  tax payer
the Plaintiff andthe citizensof this Statecould seetheir hard-eamed
dollarsgo towardssomethingmorepromising.City andCountypoliceareto be
usedto fight crimein their respectivecitiesand counties,not go out on security
detailsanddo whatevertheywant to do like sleepingin the policecarson the side
ofthe road,providingescortsto their friendsandfamily, chasingdown speeders,
or motoristsfor traffic violations.The purposeof the shamprogramof the STATE
OF GEORGIA payinglocalmunicipalitiesfor security.Instead,the Defendants
                                                           their posts
who collectan hourly wageftom the STATE OF GEORGIA abandoned
to go andchasedown traffic violators.
      7.    To help with supplemental                            all of
                                   financialmonies,the Defendants,
whom areoff duty police officersto beginwith, will chasedown motoristsandcall
otherlaw enforcementofficers,mostof whom aretheir friends,palsor neighbors,
to issuecitationsofthe off-dutyofficersbehalfandin the eventthe citationis paid,
the off-duty officers municipality reapsthe financial benefits.Again, this is the
said casehere. In the end' the only one that suffersharm is the Plaintiffand the
freeway constructionworkers who are left abandonedby the very City and County
policethatwashiredto helpprotectthem.
      8.                           of the citizensof the Citieswith the
             Defendantstakeadvantage
Countyof Chatham.The Defendantsdo not afford the Citizenstheir constrtutional
rightsso securedby the FederalConstitution.As a result,( I ) the Citiesof Pooler,
        Bloorningdaleand Port Wentn'orth,by and throughtheir si,vompeace
Savannah,
                                                                           (2)
officersengagesin a practiceof leavingconstructionsitesto pull over speeders;
pulling citizensover withoutprobablecaused;(3) pulling over knowingeachof the
individual Defendantsand officers are "offduty" and do not have authority to do
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so underthe lawsof the Stateof Georgiaandthe Constitution;(4) the officersof
theseagenciesengagein a patternandpracticeofrepeatedlyandrefusingto
                                             of fairnessand dueprocesssuchas
providethe citizenswithout the basicessentials
a timely traffic stopthat amountsto a prolongeddetention;and(4) Defendants
collectivelyengagein a pattemor practiceof imposingsevereconsequences,
includingdenialof medicaltreatment,dueprocess,unlawful searchandseizure,
prolongeddetention,retaliation,andwith completedisregardfor the rightsof the
citizensof the Stateof Georgia,aswell asthe Plaintifi
      9.     Upon informationandbeliei the Govemorof the Stateof Georgiaand
the GADOT conclusively,directlyand indirectlyauthorizesandallowsthe civil
and criminal Defendantsin this actionto conductsuch misconductso that the
STATE OF GA and the GADOT will roceivea fractionof the illegallyobtained
moniesthroughtraffic citations.Plaintiffthereforesuesthe DefendantNathan
Deal,("DEAL") to eliminatesuchmisconduct.
      10.                   of the constitutionalviolationsperpetrated
             The repercussions                                       by the
                                   Citizenslike the Plaintiff,areregularly
Defendantsaresevereand far-reaching.
and repeatedlyhandcuffed,arrested,incarceratedand held for hours during trafltc
                                                            of the severity-
stopsby theseoff-duty officerswithoutprobablecause,regardless
or lack thereof-ofthe allegedoffenseor traffic violation.
      I 1.   Here,Plaintiff was pulledoverby an off-duty officer employedby the
City of Pooler,("CITY OF POOLER")assignedto a securitydetailthat,by all
accounts,was supposedto be securinga constructionsite,for an allegedillegal
traffic U-turn committedby Plaintiff. Oncethe officer stoppedPlaintiff, he
threatened                                      oncePlaintiff beganto cite
         the Plaintiff with additionalconsequences
the larn'and point out that the officer stoppedPlaintiff in downtor,l''nSavannah,not
evenremotelycloseto the CITY OF POOLER.
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         '
      12. Despiteknowingthatthe officer rvasbeingrecorded,the officer stated
he could do whateverhe wantedandthatthe offrcerknew the Plaintiffpersonally
and abouta potentiallawsuitthatPlaintiff was filing againstvariouspoliceand
sheriffagenciesfor injunctiverelief only. The officer admittedthat he was issuing
the citationbasedon thesereasonsalone.Despiteknowinghe was off duty, the
officer then summonedan officer from the City of Savannah.Over the next hour,
Plaintiff remaineddetainedon the sideof the I-16 freeway,WhenPlaintiff askedto
leave,various officers arrived from four other cities and Plaintiff was informed that
he wouldbe shotif he left.
      I 3.   Throughthe constructionsecurity detail,the GADOT alsocontracts
with the City of Port Wentworth, ('PORT WENTWORTH"), City of Savannah,
("CITY OF SAVANNAH"), City of Bloomingdale,the Countyof Chatham,
("COUNTY') andthe City of Bloomingdale,("CIYT OF BLOOMINGDALE")
for offduty off,rcers.
       14.   OncePlaintiff continuedto be detained,an officer arrivedfrom the
CITY OF SAVANNAH almostan hour laterto cite Plaintiff for the allegedillegal
U-turn.When Plaintiff demandedto know why the CITY OF SAVANNAH was
                                               Policeofficer saidinformedthe
citing the Plaintiff for the ticket,the Savannah
Plaintiffthat in the STATE OF GEORGIA, an off-duty officer cancall another
officer to issuea citationandthe on-dutyofficer will appearin court andtestifyto
what the off-duty officer told the on-duty officer.
       15.                                     officer and while recording
             Plaintiffthenrecognizedthe Savannah
him, Plaintiff askedhim if his namewas "Adrian," but the officer refusedto admit
                                                                Plaintiffwas
that he rvas.[n fact,last yearwhile at a waffle housein Savannah,
severelybeatenandjumpedby Savannah
                                 PoliceOfficer Adrian Gates,the very
sameoffrcer who cited Plaintiff for the off-duty officer.
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      16.    To the extentthat an off-duty officer cantell anotherolficer on-duty
that a crimeor trafhc violation,or any otherlaw wasviolated,andthe third party
officer cantestifyto this or this in a Courtof law, thenPlaintiffherebysuesthe
         DEAL andthe STATE OF GEORGIA andwill seeka declarationof
Defendants
                                     from enforcingsuchstatute.
this Courtenjoiningthe StateDefendants
      17.    Underthe Sixth Amendmentto the UnitedStatesConstitution,the
Plaintiff andall citizensof the United Statesof Americaenjoythe rightsand
privilegessecuredandaffordedto themby the Constitution.Ifsuch statueor
Georgiastatelaw exists,thenPlaintiffsdueprocesshasbeenviolated.Therefore,
Plaintiff will askthis Courtto strikedown suchStatelaw andfind that not only
doessuchStatelaw violatethe Constitution,but the rightsof the Peopleandmust
be held unconstitutional.
                                    PARTIES
                                                                        ')
      I 8.   Plaintiff AnthonyOliver, (hereafter"Mr. Oliver or Plaintiff is, at ail
timesrelevanlhereto,a residentof the Countyof Chatham,over the ageof I 8
yearsold, and an adultcompetentto bring this suit in this Court.At all times
relevantto this lawsuit,Plaintiff at the time of the incident,was a residentof the
Stateof Georgia,the City of Pooler.
      19.    DefendantCity of Pooler(hereafter"CITY OF POOLER") is a public
entityorganizedand existingunderthe laws ofthe Stateof Georgia.Defendant
operatesthe PoolerPolice Departmentand employsseveralknown and unknown
corruptlaw enforcementofftcers.Upon informationandbelief,Plaintiff believes
andthereonallegesthat the STATE OF GA providesfundingto the CITY OF
POOLERand its PoliceDepartment.Plaintiff seeksinjunctiverelief for, among
otherthings,an orderenjoiningthe STATE OF GA to ceaseand desistin
providingthis Defendantwith the Plaintiffstax payerdollars.Defendantis also
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                                           as outlinedin Monell v.
suedpursuantto a custom,policy andprocedures
                            U.S.658.
        of SocialServices,436
Department
     20.    DefendantCity of Savannah(hereafter"CITY OF SAVANNAH") is
a public entityorganizedandexistingunderthe saidlawsof the Stateof Georgia.
Defendantoperatesthe SavannahPolice Department.Upon information and belief-,
Plaintiff believesandthereonallegesthatthe STATE OF GA providesfundingto
the CITY OF SAVANNAH andits PoliceDepartment.Plaintiff seeksinjunctive
relief for, amongotherthings,an orderenjoiningthe STATE OF GA to ceaseand
desistin providingthis Defendantwith the Plaintiffstax payerdollars.Defendant
                                                  asoutlinedin Monell v'
is alsosuedpursuantto a custom,policy andprocedures
Departmentof SocialServices,436 U.S. 658.
      21.   DefendantCity of Port Wentworth(hereafter"CITY OF PORT
WENTWORTH") is a public entityorganizedandexistingunderthe saidlaws of
the Stateof Georgia.Defendantoperatesthe Port WentworthPoliceDepartment,
("PWPD'). Upon informationandbelief,Plaintiff believesandthereonallegesthat
the STATE OF GA providesfundingto the CITY OF PORT WENTWORTH and
its PoliceDepartment.Plaintiff seeksinjunctiverelief for, amongotherthings,an
orderenjoiningthe STATE OF GA to ceaseanddesistin providingthis Defendant
with the Plaintiffstax payerdollars.Defendantis alsosuedpursuantto a custom,
                   as outlinedin Monell v. Departmentof SocialServices,436
policy andprocedures
u.s.6s8.
      22.   DefendantCity of BloomingdaleC'CITY OF BLOOMINGDALE") is
a public entityorganizedandexistingunderthe saidlawsof the Stateof Georgia.
Defendantoperatesthe BloomingdalePoliceDepartment,("BPD"). Upon
informationandbelief,Plaintiff believesandthereonallegesthat the STATE OF
GA providesfundingto the CITY OF BLOOMINGDALE and its com-rptPolice
Department.Plaintiff seeksinjunctiverelief for, amongotherthings,an order
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                                                                     with
enjoiningthe STATE ol- GA to ceaseand desistin providingthis Det'endant
the Plaintiffstax payerdollars.Defendantis alsosuedpursuantto a custom,policy
            as outlinedin Monell v. Departmentof SocialSen'ices,436 U.S.
andprocedures
6 58 .
         23.   DefendantStateof Georgia,("STATE OF GA") is Stateagencythat
hasdirectcontrolover off Stateagencies.Plaintiff suesthis Defendantfor only
injunctiverelief.tnjunctiverelief is availablepursuantto Will v. Mich. Dep't of
                                                      considerations
StatePolice,491U.S.58,7l (1989)(citingEleventhAmendment
and holdingthat $ 1983doesnot permit suitsfor damagesagainststates).
         24.   DefendantNathanDeal.,(hereafter"GOV. DEAL'), is the elected
Govemorof the Stateof Georgia,over the ageof I 8 yearsold.'and is suedby the
Plaintiff to orderGOV. DEAL to investigatePlaintiff s allegationsof a criminal
enterprisetakingplace.Neitherabsolute,nor qualifiedimmunityis availablefor
stateactorssuedin the official capacity.SeeWill v. Mich. Dep't of StatePolice,
                                                        andholding
491 U.S.58,71 (1989)(citingEleventhAmendmentconsiderations
that $ 1983doesnot permit suitsfor damagesagainststates).
         25.   DefendantCharlesDavis,("DAVIS") is a peaceofficer employed
with the City of Pooler,over the ageof I 8 yearsold and is suedin his individual
capacity.
         26.   DefendantCharlesDavis,("WLLIS") is a peaceofficer employed
with the City of Bloomingdale,over the ageof I 8 yearsold andis suedin his
individualcapacity.
         27.   DefendantAdrian Gates,("GATES") is a peaceofficer employedwith
                   over the ageof 18 yearsold and is suedin his individual
the City of Savannah,
caoacitv.
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      28.    DefcndantMatt Libby, ("LIBBY") is the chief of Policefor the Port
                        over the ageof 18yearsold, andin suedin his
WentworlhPoliceDepartment.
individualandofficial capacity.
      29.    DefendantAshleyBrown, (,'LIBBY") is the chief of Policefor the
                     over the ageof l8 yearsold, andin suedin her
PoolerPoliceDepartment,
individualandofficial capacity.
      30.    DefendantMark Revenew,("REVENEW") is the chief of Policefor
the PoolerPoliceDepartment,over the ageof 18 yearsold, andin suedin his
individual and ofhcial capacity.
      3I .   DefendantBlair Jeffcoat,C'JEFFCOAT")is the chief of Policefor the
BloomingdalePoliceDepartment,over the ageof 18 yearsold, andin suedin his
individualandofficialcapacity.
      32.    Plaintiff is informedandbelievesandthereonallegesthat Defendants
suedhereinas DOES I through10,inclusive,areemployeesof variouspolice
agenciesundercontractwith the GADOT andthe STATE OF GEORGIA.At all
relevanttimesactingin the courseand scopeof their employmentand each
Defendantis the agentof the other.Plaintiff allegesthat eachof the Defendants
namedas "DOE" was in somemannerresponsiblefor the actsand omissions
allegedherein,andPlaintiff will ask leaveof this Court to amendthe Complaintto
allegesuchnamesand responsibilitywhen that informationis ascertained
      33.    Plaintiffis informedandbelieves,andthereuponallegesthat,at all
                                            and eachof them,werethe
timesrelevantherein,the individualDefendants,
               andemployeesof their respectiveemployersof variousCity and
agents,serv'ants
Countypoliceagenciesandwereactingat all timeswithin the scopeof their
agencyand saidemploymentwith the knowledgeand consentof their principals
                                          and eachof them,wereacting
and employers.At all timesherein,Defendants,
underthe color of statelaw.
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                        JURISDICTION AND VENUE
      34.   This Courthasoriginalsubjectmatterjurisdictionover the subject
matterof this Complaintunderthe federalFirst Fourth,Sixth andFourteenth
Amendmentsto the United StatesConstitutionunder42 U.S.C.$ 1983and 1985.
      35.   Further,this civil rightsactionis broughtto redressdeprivationsof
rightsprivilegesandimmunitiessecuredby the United StatesConstitutionandby
                                    to 28 U.S.C.$$ 2201(a)and2202.
                is alsoproperpursuant
law. Jurisdiction
      36.   Venueis properin the SouthemDistrict of Georgiapursuantto 28
                                                        part,if not all of
                          and 1402(b),in thata substantial
U.S.C.$$ 1391(b),1391(b)(2),
the actsand/oromissionsgiving rise to Plaintiff s claimsoccurredin this District.
                       ADMINISTRATIVE REMEDIES
      37.   Priorto the filing of this lawsuit,Plaintiff senteachof the City
DefendantsAnte Litem Noticesaswell asNoticesof Spoliationof Evidenceto
give the City Defendantsthe opportunityto review PlaintiffsStatelaw claims.
                           STATEMENT OF FACTS
      38.   On Aprii 25,2018,Plaintiffwastravelingon the I-16 freewayin
                                                        As the
               headingtowardsMemorialHospitalin Savannah.
downtownSavannah
Plaintiff was exercisinghis right to travelfreely,Plaintiff wasobsen'edthe
freewaytraffic at a standstill.Justbeyondthe traffic, were two police vehicies
instructingall vehiclesto staybehrndthemuntil the two policecarswerereadyto
                                                             ("GADOT"),
proceed.That samenight,,the GeorgiaDepartmentof Transportation,
had two policeofficersfrom two differentcitiesassignedto providea security
detailto the constructionworkers.Thosetwo officersareidentifiedasDefendants
CharlesDavis,("DAVIS") of the PoolerPoliceDepartment,and his co-Defendant
Adam Willis, ("W[LIS")     of the BloomingdalePoliceDepartment.
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      39.   With the traffic headingin the directionton'ardsthe endof the
freeway,DefendantDAVIS spottedPlaintiff travelingin his vehicleheading
                       Both DAVIS and WILLIS were leadingtraffic in
towardsdowntownSavannah.
their policevehicleswithin the City of PoolerwhenDAVIS spottedthe Plaintiffin
his new SUV. At all timesrelevant,DAVIS and WILLIS were "off-duty."
      40.   After DAVIS spottedPlaintiff,DAVIS spedup travelingalmost85
miles an hour. DAVIS activatedthe overheadlights of the markedPoolerPolice
vehicle.OncePlaintiff sawthe lights,Plaintiff sloweddown.DAVIS wasthen
recordedspeedingup in an attemptto ram the Plaintiff. At one point, DAVIS sped
up so fast,that Plaintiff nearlycrashedinto the highwaywall. DAVIS decidedto
stopPlaintiff afterleavinghisjurisdictionto follow andharassthe Plaintiff.After
                                         Plaintiffsdriver sidedoor and
Plaintiff was stopped,DAVIS thenapproached
beganyelling andusingfoul languagetolvardsthe Plaintiff for no reason.When
Plaintiff askedif DAVIS was off-duty,DAVIS beganthreatingPlaintiff with
detentionif he did not provideDAIVS with driver'slicense.In fearfor his life and
safety,Plaintiff gavehis licenseto DAVIS.
      41.   Without any delay,DAVIS beganshoutingat Plaintiff "I know who
you are mother fucker."
      42.   As Plaintiffwas looking for his car insurance,DAVIS acknowledged
                                               videocameras.DAVIS then said
that Plaintiffwas filming him with threeseparate
he knew who Plaintiff was and how Plaintiff was bringing a potential lawsuit
againstthe City of Pooler.Further,DAVIS admittedon tapethat Plaintiff is suing
one of his fellow law enforcementofficers from ChathamSheriffs Department,as
DAVIS admittedhe workedfor this asencvas well.




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      43.   As the arguingcontinued,the otherofficersassignedto the road
constructiondetailfrom the Citiesof Port Wentworlhand Bloomingdale'
      44.   Insteadofdoing thejob ofproviding securityto the construction
workers,DefendantsDAVIS, WLLIS andat leasttwo otherunknownofficers
brokethe securitydetailandusedlightsand sirensto comebackup DAVIS for an
allegedtrafhc stop.DAVIS allegedthatPlaintiff madean illegal U-turn on the
freeway.At no time andwith the admissionof DAVIS, was thereevidence
                                     weretrue.
providedby DAVIS that thoseallegations
      45.   After yelling at the Plaintiff,DAVIS went backto his policevehicle
and huddledaroundthe other officers. From there,minutesturned into 40 minutes
olPlaintiff sittingon the sideof the freeway.
      46.   At varioustimes,asPlaintiff was frlming DAVIS, WILLIS andthe
otherunknownofficers,DAVIS told Plaintiffto stopfilming them,"or go to jail."
      47.   Plaintiff satin his car and minuteswent by. Plaintiff continuedto
observethe DefendantOfhcersjust standingaroundtalkingbehindPlaintiffs
vehicle.Plaintiff in fearfor his safety,decidedto call 91I to establishwhetheror
not DAVIS, WLLIS and otherunknownofficetswere reallylaw enforcement.
      48.    As Plaintiffstuckhis headout ofthe passenger
                                                        sideofhis vehicle,
Plaintiff demandedto know the namesof eachof the oflicers who were on sceneat
the time. However,Plaintiff wasnot ableto ascertaintheir namesof the namesof
the policeagenciesbecauseDefendantWILLIS useda high-powerflash light to
shinein Plaintiffseyesand in the lensof his camerato knowing and intentionally
interferewith PlaintiffsFederalFirstAmendment.At all timesrelevant,1VILLIS
knew andhad reasonto know thathis misconductwasunlawfulbecausehe and
DAVIS refusedto providetheir names,agencynamesor badgenumbers.The only
thing that DAVIS, WILLIS andthe otherunknownofficerscontinuedto do was
standaroundandtalk.
                                        l1
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                                          off duty andwith no otlicial
      49. DAVIS andWILLId knew they r,r'ere
policepowers,theyknew that theylackedthe mostminimalpolicepou'ersto lssue
a citation.So. DefendantsDAVIS andWILLIS summoneda policeofftcerfrom
                    ("CITY OF SAVANNAH") PoliceDepartmentidentifiedas
the City of Savannah,
Adrian Gates,("GATES').
      50.                          and Plaintiff runningout of filming
            With an hour approaching,
                                    on scene.After standingaroundand
memory,DefendantOfhcer GATES appeared
                                             the Plaintiff andinformedhim
talking for another20 minutes,GATES approached
that DAVIS andWILLIS sawPlaintiff commit an illegal U-tum andthat GATES
would be issuinga citationto the Plaintiff.As GATES handedPlaintiff a clip
boardto signthe citation,Plaintiff instantlyrecognizedGATES Plaintiff without
hesitationasked"is your nameAdrian."
      51.   DefendantPoliceOfficer Adrian Gatesrefusedto answerPlaintiffs
question.Again, Plaintiff repeatedhis question.Again,GATES refusedto answer
Plaintiffsquestion.
      52.   In July of 2017.Plaintiff was viscouslyattackedby Officer Gatesand
                                            GATES and his criminalthug
two otherthugsat the Waffle Housein Savannah.
friends were drunk and waving a badge.
      53.   Plaintiffcontinuedanddemandedto know the namesof the officer's
presentat the sceneof the stop.Plaintiff alsohad an affirmativeright to know what
agenciesthe officerswere from aswell. Instead,GATES, DAVIS andWILLTS
refusedto providePlaintiff with their names,badgenumbersand informationas to
what agencythey werewith. As GATES was issuingPlaintiff a traffic citation,
both DAVIS and WILLIS were standingon the sideof PlaintiffsSUV continuing
to shinetheir high beamflashlights in Plaintiffseyesto causePlaintiffphysical
damage,as well asto impedePlaintiff from knowingtheir correctidentities,all of
which Plaintiff is entitledto underthe FederalFirstAmendment.
                                         IJ
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      54.                                                 DAVIS, WILLIS and
            During the courseof the traffic stop,Defendants
                                                        suspicionto
GATES knew andhadreasonto know that they lackedreasonable
articulatewhetherPlaintiffactuallycommitteda crime.Further,DAVIS, WLLIS
and GATES knew and had reasonto know that a traffic stopthat reachnearly an
hour constitutedunlawfulandthuswould be subjectingthe Plaintiff to prolonged
detention.DefendantDAVIS, WILLIS andGATES wereactingunderthe color of
statelaw, andwith completeand recklessdisregardof the rightsof the Plaintiff.
      55.   DefendantWILLIS did everythingin his powerto ensurethat the
Plaintiff would neverknow the identitiesof the DefendantOfficers.With Officer
DAVIS removinghis nametag coupledwith WILLIS shinninga largehigh beam
flashlight in Plaintiffseyes,for surethey thoughtthat Plaintiffwould neverknow
who they were or are.
      56.   After GATES issuedPlaintiff the citation,GATES informedthe
Plaintiff of a Court date,andthat GATES would be appearingto testifyfor ofltcer
DAVIS. At all timesrelevant,DAVIS andGATES knew this would amountto
third party hearsay.
      57.   After minutesshortof an hour,Plaintiff was finally given a copy of
the citationandtold to leave.But Plaintiff still demandedto know the namesof the
officers,but onceagainDAVIS, WILLIS and GATES still refuseddespitethe fact
that andpublic servants,andunderGeorgialaw as it is in virtually everystate,a
tax payer,or citizen has an afllrmative right to know that information. By all
accounts,the policework for the tax payer,the Plaintiffin this case.
      58.    At all timesrelevant,DAVIS, WILLIS and GATES knew andhad
reasonto know they werebeingrecordedby Plaintiffwith threedifferentvideo
cameras,but still violatedPlaintiffsConstitutionalrightsanyways.




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                                         l..t
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        59.                                 DAVIS, WILLIS, GATES andthe
              At all timesrelevant,Def'endants
otherunknownoffrcerswereactingunderthe color of authoritywhetheror not
theywereon duty.
        60.   Plaintiff believesandthereonallegesthatthe DefendantsDAVIS and
WILLIS did not havepermissionto leavethe constructionsiteto initiatea traffic
stopon thePlaintiff whenin fact DAVIS and WILLIS wereundercontractwith
the GADOT to stayon site for the safetyof thoseconstructionworkers.
        61.   DefendantsDAVIS. WILLIS, GATES andthe otherunknownofficers
were actingunder the color of authority knew that therewas no basisfor the traffic
stop.
        62.   DefendantsDAVIS, WILLIS, GATES andthe otherunknownofficers
actedunreasonablyin stoppingthe Plaintiffs' SUV and subjectinghim to a
prolongedinvestigatorydetentionwhenthey knew that a prolongeddetention
would causePlaintiffactualharm.
        63.   As a resultof the Defendants'actions,Plaintiff suffereddamagesin
an amountto be proven at trial.
        64.                                                               the
              As a directandproximateresultof the actionsof the Defendants,
Plaintiff is entitledto an awardof punitivedamagesto makea clearandpresent
                                 DAVIS, WILLIS, GATES andthe other
exampleof the individualDefendants
unknownofficerswere actingunderthe color of authority.




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                            N I O N E L LA L L E G A T I O \ - S
      65.   Baseduponthe principlesof setforth in Monell V. New YorkCiq'
Departmentof SocialSeruices,436 U.S. 658(1978),the municipalDefendants
                               City of Bloomingdaleandthe City of Port
City of Pooler,City of Savannah,
Wentworthbearsliability becauseits policies,practicesand,/orcustomscausedthe
Plaintiffsinjuries.In particular,DefendantsMatt Libby, Ashley Brown, Mark
RevenewandBlair Jeffcoathascondonedan ongoingpattemofmisconductby
                                                         City of Pooler,
their policeofficerson andoff duty.The municipalDefendants
City of Savannah,City of Bloomingdaleand the City of Port Wentworlh and its
officials,includingtheir respectivepolicechiefs,maintainedor permittedone or
moreof the following official policies,customs,or practices.
      66.   Further,DefendantsCity of Pooler,City of Savannah,
                                                             City of
Bloomingdale,City of PortWentworth,Matt Libby, AshleyBrown, Mark
Revenewand Blair Jeffcoathavecondonedsuchactivityto permit andallow their
policeofficersto commitviolationsof federallaw because
                                                     when the individual
policeofficersemployedwith the municipalDefendantsareoff duty and cause
citationsrelatedto constructionsitesknowing that when the Defendantpays the
citation,thosefundsgo directlyto the Stateof Georgia.
      67.    [n tum the Stateof Georgiatakesthe fundsandpayspublic entities
                                                    City of Bloomingdale,City
and their chiefslike City of Pooler,City of Savannah,
of Port Wentworth,Matt Libby, Ashley Brou'n, Mark Revenew'and Blair Jeffcoat
for providingsecurityon the constructionsites.Theseviolationsmaintainedor
permittedone or moreof the following official policies,customs,or practices:
      A.    Failureto provideadequatetrainingand supervisionto the police
officerswith respectto constitutionallimits on traffic stops,detention,prolonged
detention,andthird-partyhearsay;
      B.    Failureto adequatelydisciplineor retrainingofficersinvolvedin civrl
                                         l6
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            -    - J ;




and criminalmisconduct;
      C.                                     of officer with demonstrable
            Selection,retention,andassignation
           for violence,dishonestyandothermisconduct;
propensities
      D.                             ofofficers in the beliefthatthey can
            Condonationandencouragement
violatethe rightsof personssuchas the Plaintiff with impunity,andthat suchcivil
and crirninalmisconductwill not adverselyaffecttheir opportunitiesfor promotion
and otheremploymentbenefits;
      E.    Failureto providepropertrainingwith respectto unlawfulsearchand
seizureprocedures;
      F.    Failureto practiceandenforcecitizencomplaintreportingand
             into ofltcer misconductwith the policedepartments;
investigations
      G.    Failureto properlytrain on the groundsofretaliationagainstprivate
citizens;and
      H.        Failureto stoptheir officers from initiating traffic stopson citizens
when the officers are off-dutv;
                                INJUNCTIVE RELIEF
      68.              to 28 U.S.C.$$ 2201and2202,FederalRulesof Civil
                Pursuant
         Rule 57 and65, andby the generallegal andequitablepowersofthis
Procedure,
Court.Plaintiff in entitledto bring an injunctiverelief act againstthe Defendants
NathanDeal in his official capacity,andthe Stateof Georgia.
      69.       The Stateof Georgia,("STATE OF GA") authorizedby the elected
GovemorNathanDeal,("DEAL") usethe Plaintiffstax payer'sdollarsfor many
thingsin the Stateof Georgia.For an example,in manyways,DefendantsSTATE
OF GA and DEAL usethe tax payer'sdollarsin this Statefor thingsthat makeno
              The following is manyexamplesof how the STATE,OF GA and
sensewhatsoever.
DEAL wastePlaintiffs'and the tax payermoney:


                                             tl
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      A.    During St. Patrick'sDay of this year,DefendantsSTATE OF GA and
                                                          officersto
                           of dollarsto sendlaw enforcement
DEAL usedhundredof thousands
the SouthemDistrictof Georgiato conductDUI checkpoints'For instance,on
Highway 21 in PortWentworth,DefendantsSTATE OF GA and DEAL paid for
StateTroopersanddeputiesof the DouglasCountySheriffsDepartmentto conduct
DUI checkpointsin the Countyof Chatham,the City of Port Wentworth.Further,
the Plaintiffandthe tax payersofthis Statepaid $ 300.00a night to put the officers
up in hotelsin the City ofPooler.Plaintiffseeksan orderofthis Courtenloyingthe
StateDefendantsfrom continuingthis illegalpractice.
      B.    DefendantsSTATE OF GA and DEAL directlyauthorizeStatefunds
                                     agenciesto pay local corruptofftcersto
              to local law enforcement
to be dispersed
providesecurityon all constructionsiteson the statefreeways.Almost everystate
in this Countryuse StatePoliceor Troopersto providethat securitywithouthaving
to pay localpolice.Plaintiffseeksan orderofthis Court enjoyingthe State
Defendantsfrom continuingthis illegalpractice.
      C.    Upon informationandbelief,DefendantsSTATE OF GA and DEAL
directly authorized,condoned,and/or ratified off-duty police officers in the State
of Georgiato initiatetraffic stopsof citizenswhile off-duty.Underthe Federal
FourthAmendment,the Peopleof the Stateof Georgiahavethe right to be secure
in their personsandtheir homeswithout the intrusionupongovernmentofficials
and actors.By permitting,allowingandgiving off-duty larvenforcementofficers
to just do anything,everythingand somethingto stopanddetainpeoplewhenever
they so chooseis just outrightdespicableand is completedisgraceto the United
StatesConstitution.By continuingto allou' STATE OF GA and DEAL to give law
          the porverto unlawfullystopand seizea citizenof this Stateat their
enforcement
whim and caorice.violatesthe FederalFirst Amendment.Plaintiff seeksan order
                                         18
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ofthis Courtenjoyingthe StateDefendantsfrom continuingthis illegalpractice.
      D.    Upon informationandbelief,the STATE OF GA and DEAL havein
placea sectionof law underthe OCGA that permitsthe testimonyof one officer
telling anotherofficer what took place,andthe secondofficerbeingallowedto
testifyin a Court of law of to what anotherofficertold him or her.Underthe Sixth
Amendmentof the FederalConstitution,everypersonand citizenlike the Plaintiff
enjoysthe right to havewitnessesbroughtagainsthim. Without suchwitnesses
beingpresent,the Sixth Amendmentright of the Plaintiff and the citizensof this
Statehasbeenviolated.Plaintiffseeksan orderofthis Court enjoyingthe State
Defendantsfrom continuingthis illegalpractice.
      E.    Upon information and belief, the STATE OF GA and DEAL give
exclusiverightsto law enforcementagenciesaroundthis Statethat allowspolice
officersfrom everyState,City and Countypoliceagenciesto takehomepolice
                                                           Plaintiff
vehiclesandusethosevehiclesfor personaluse.In manyinstances,
conductedover 380 hoursof surveillanceon the City of PoolerPoliceDepartment.
                 Plaintiffrecordedover 30 policeofficersusingCity vehiclesto
In theseinstances,
go groceryshopping,goingto the movies,bowling alley,picking up their children
at a sportingevent,usingpolicevehiclesto go off roadingin the I-95 freewayon
April 24,2018 resultingin a tow truck havingto comeandpull the vehicleout of a
ditch,and officersusingCity Policevehiclesto go to their secondjob. And the
ofhcersarepermittedto useCity gascardsto put fill up the Policevehicle.Most of
the policevehiclesare SUV's and coststypically $ 55.00dollarsto fi1l up. Plaintiff
seeksan orderof this Court directingDefendantNathanDeal to issuean executive
orderdirectingall law enforcementagenciesacrossthe Stateof Georgiato cease
and desistin allowingPoliceagenciesto continueto allow officersstatewideto
takehomepolicevehiclesandusecity gascards.Becauseeverypolice agencyin
Georgiareceivesstatefunding,andthosefundsarePlaintiffbtax payerdollars,and
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becausePlaintiff did not give consentto the STATE OF GA, DEAL, or any larv
          agenciesto usehis tax payerdollars,thenPlaintiffhasstandingfor
enforcement
injunctiverelief on this causeof action.Plaintiff seeksan orderof this Court for an
orderdirectingGovemorNathanDealto issuean executiveorderdirectinga1llaw
enforcementagenciesstatewideto stoppermitting all officers from taking home
policevehicles,andusingcity, countyor stategascardsfor personalreasons,(i.e.'
groceryshopping,going to the gym, goingto sportingevents,etc'
      F.    Since1978,the m:qorityoistatesin tlie UnitedStateshavefollou'ed
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                  any Statethatigtiorestheseprocedures
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vcry decisionto decriminalize
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conductto be lessculpable,tliercbyrelievingthetl'atficDefendant
         rvithtraditionalctirninalconduct.
associatcd
      B.     For the Stateof Georgia in All Traffic Offenses
      For the Stateof Georiga,decriminalizingtraffic ticketsoffersnumerous
immensesavingsin ways suchas costsof prosecution,
                                                incarceration,     jury
                                                            appeals,
trials,habeascorpusproceedings,        jails/prisons.,
                             overcrowded            defensecounsel,and
appellatecounsel.Eachyear,the Stateof Georgiaspendsbillionsof dollarsin
revenue"only to recovernothingbut a personon probationwith no job. As an
example,in the StateofOregon, the averagecostofprocessinga singlejail able
misdemeanor-includingprosecution,defense,and courtcosts,but not actual
            costs is $ 1,697.67.In the Stateof Chicago,Iltinois,the State
incarceration
estimatesofthe costsofa singlespeedingticketcan rangeanywherefrom S1,600
                                         22
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to 57,200.68tbr the purposeof a.1urytrial andappeal.BecausePlaintiff was issued
a cttation,Plaintiff is entitledto suefor injunctiverelief.And becauseprobationis
a form of Unlawful Searchand Seizure,violatesthe FederalFourth Amendment,
                                                                    STATE
the Plaintiff seeksan orderof this Court enjoyingthe StateDefendants,
OF GA and DEAL from continuingthe practiceof from continuingto place
citizenson probation.
                                   AS TO COUNT I
                            FIRST CAUSE OF ACTION
       42 U.S.C.$ 1983- UNREASONABLE SEARCH AND SEIZURE
             Against DAVIS, WILLIS, GATES and DOES I through 10
       70.                                      the allegationssetforth in the
               Plaintiffreallegesand incorporates
precedingparagraphsas though fully set forth herein.
       71.     DefendantsDAVIS, WILLIS, GATES and JOHN DOES stopped
Plaintiff for a routine traffic violation.
       72.     DefendantsDAVIS. WLLIS. GATES and JOHN DOES lacked
probablecauseto stopanddetainthe Plaintiffin his new SUV vehicle.
       73.     DefendantsDAVIS, WLLIS, GATES and JOHN DOES lacked
probablecauseto detainPlaintiff during the traffic stop,or in the altetnative,
                                                           amountof
          andeachof themdetainedPlaintiff for an unreasonable
Defendants,
time. Plaintiff had an affirmative right not to be detainedfor nearly an hour.
       74.     DefendantsDAVIS and GATES lackedprobablecauseto interrogate
the Plaintifffor a traffic violation.
       75.     DefendantsDAVIS. WILLIS. GATES andJOHN DOESwere
  ectivelyunreasonable.
ob.1
       76.     DefendantsDAVIS, WILLIS, GATES andJOHN DOES actsviolated
Plaintiff s FourlhAmendmentrightsto be securein his personfrom unreasonable
searchandseizures.
                                             23
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      77.              DAVIS. WILLIS, GATES and JOHN DOES deprivation
              Defendants
of Plaintiff s rightscausedPlaintiff damages.
      18.              DAVIS. WLLIS, GATES andJOHN DOESwereacting
              Defendants
underthe color of stateauthority.
      79.     DefendantsDAVIS, WLLIS, GATES andJOHN DOES clearlyacted
willfully, knowinglyand purposefullyand/orwith completedeliberateindifference
to deprivePlaintiffof his ConstitutionalRights. As a resultof the natureof the
Defendant'sconduct,Plaintiff is entitledto recoverpunitivedamagesagainstthe
individualDefendants.
                                AS TO COUNT II
                         SECOND CAUSE OF ACTION
       42 U.S.C.$ 1983- VIOLATION OF FEDERAL CM                  RIGHTS
            Against DAVIS, WILLIS, GATES and DOES 1 through 10
             (EXCEPT STATE OF GEORGIA AND NATIIAN DEAL)
      80.                                      the allegationssetforth in the
              Plaintiffreallegesand incorporates
                  as thoughfully set forth herein.
precedingparagraphs
      81.     42 U.S.C.$ 1983providesin part:
              Everypersonwho, undercolor of any statute,ordinance,regulation,
              custom,or usageof any Stateor Tenitory subjects,or causesto be
              subjected, any personof the United Statesor otherpersonwithin the
              jurisdictionthereofto the deprivationof any rights,privileges,or
              immunitiessecuredby the Constitutionand laws shallbe liableto the
              partyinjuredin an actionat law, suit at equityor otherproper
              proceedingfor redress.


       82.                                   right underthe FourthAmendment
              Plaintiffhada firmly established
                          search,seizureandprolongeddetention.
to be free from unreasonable



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    -83.
                                       susplcionthaf a citizenhascommitted
            A detentionwithoutreasonable
                                                                 and
                                                          searches
a crimeviolatesthe FourthAmendmentprohibitionon unreasonable
seizureaswell as prolongeddetention.
      84.   A policeofficer may stopand briefly detaina citizenbasedon a
reasoniblesuspicionof involvementin a crime.
      85.   DefendantsDAVIS. WILIS, GATES and JOHN DOESknew and
had reasonto know thattherewasno basisfor a stop.
      86.          DAVIS, WILLIS, GATES ANdJOHN DOESACtEd
            DCfCNdANtS
           in stoppingthe Plaintiffs'SUV and subjectingPlaintiffto prolonged
unreasonably
investigatorydetention.The supremecourt hasstrictlyheld thatanythingovera
20-minute stop constitutesa prolongeddetentionand violatesPlaintiffs Federal
Fourth Amendmentright.
      87.   As a resultof Defendants'DAVIS, WILLIS, GATES andJOHN
DOES actions,Plaintiff suffereddamagesin the amountto be provenat trial.

                              AS TO COUNT III
                           THTRD CAUSE OF ACTION
                       42 U.S.C.S 1983- RETALIATION
                    Against DAVIS and DOES 1 through 10
      88.                                    the allegationssetforth in the
             Plaintiffreallegesandincorporates
precedingparagraphsas though fully set forth herein.
      89.    DefendantDAVIS stoppedPlaintiff in his SUV for personalreasons.
      90.    OnceDAVIS spoketo Plaintiffoutsidethe driver door,DAVIS knew
                   recordinghim. DAVIS admitted,despitebeingrecorded,that
that Plaintiffr,r'as
DAVIS knew Plaintiff andabouthow Plaintiff was bringinga lar'vsuitagainstthe
City ofPooler and71 otherpoliceagenciesfor prospectiveinjunctivereliefand
civil rishts violations.


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      gl .   Despiteknowinghe was beingrecorded,DAVIS causedPlaintiffto
be citedfor personalreasonsbasedon Plaintiff exercisinghis FederalFirst
Amendmentright.
      92.    DefendantDAVIS was aisoupsetaboutPlaintiff filing a previous
lawsuitagainsta ChathamCountySheriffsdeputyactingasa SpecialDeputywith
the United StatesMarshalsService.DefendantDAVIS did not want Plaintiffto
petitionthe governmentfor a redressof grievances.
      93.    Plaintiffcontinued,while recordingDAVIS demandingto know his
nameand badgenumber.Plaintiff also continuedto ask WILLIS for his name,
badgenumber,and agencyname.Instead,WILLIS respondedby shinninghigh
power flash lights in Plaintiff s face and in his cameralensesto preventPlaintiff
from obtainingthe officersnames,badgenumbers,and agencynames.At all times
relevant,Plaintiffalsovideo recordedWILLIS shinningthe flashlight in Plaintiffs
face and camera.
      94.    DefendantGATES laterarrivedon scene,andwhen Plaintiff
immediatelyaskedGATES if his namewasAdrian, GATES refusedto answer,
and GATES alsointentionallyput a wrong badgeand/oremployeenumberof the
                                                     from SavannahPolice
bottomofthe citationleadingintemalaffairsinvestigators
Departmenton a wild goosechase.
      95.    Plaintiff exercisedhis rightsunderthe FederalFirst Amendmentto
ask for the officer's names,badgenumbers,and agencynames.But to no avail,the
DefendantsDAVIS, WLLIS, GATES andJOHN DOES violatedPlaintiffsFirst
Amendmentright to petitionthe government.
       96.   DefendantsDAVIS,,WILLIS, GATES andJOHN DOES actedunder
the color of statelaw and authority.
       97.   As a resultof the Defendantsactions,Plaintiff is entitledto an award
of punitivedamagesto makean exampleof the Defendants.
                                         ./.o
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                                                                                 - .,
                                AS TO COUNT IV
                          FOURTH CAUSE OF ACTION
              42 U.S.C.S 1983- MONELL MUNICIPAL LIABILITY
   Against CITY OF POOLE& CITY OF SAVANNAH' CITY OF PORT
 WENTWORTH, CTTY OF BLOOMINGDALE' MATT LIBBY' ASTILEY
BROWN, MARK REVENEW, BLAIR JEFFCOAT and DOES I through l0
        98.                                     the allegationssetforth in the
               Plaintiffreallegesand incorporates
                  as thoughfully setforth herein.
precedingparagraphs
        gg.              andeachof thempromulgatedandmaintainedan
               Defendants,
              policy, ordinanceor regulationwhich allowedits police officersto
unconstitutional
                       andseizures,andprolongeddetentionswhile on andoff
conductunlawful searches
duty.
                       and eachthem,wasdeliberatelyindifferentto the
        100. Defendants,
widespreadmisconducton the part of the policeofficersemployedwith these
agenciesin detainingcitizenswho had committedno crimes.
        I 01. During the relevantperiod,Defendantofficers,DAVIS' WILLIS'
GATES and JOHN DOES wereactingpursuantthe policy of Defendantscity of
                       City of Bloomingdale,andthe City of PortWentworth.
Pooler,City of Savannah,
                       andeachofthem, knew or shouldhaveknown ofthe
        102. Defendants,
risksand violationsof federalcivil rightscommittedby the officers.
        103. The Defendantsweredeliberatelyindifferentto the rightsof the
Plaintiff to be free from, andprotectedfrom, harm by the civil rightsviolationsof
their policeofficers.
        104. The unlawful andillegal conductofthe DefendantsdeprivedPlaintiff
of the rights,privilegesandimmunitiessecuredto him by the Constitutionsof the
United Statesandof the Stateof Georgia.


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                              AS TO COUNT V
                        FIRTH CAUSE OF ACTION
     42 U.S.C.$ 1983- FAILURE TO SUPERVISE AND DISCIPLINE
   Against CITY OF POOLE& CITY OF SAVANNAH, CITY OF PORT
 WENTWORTH, CTTY OF BLOOMINGDALE, MATT LIBBY' ASTILEY
BROWN, MARK REVENEW, BLAIR JEFFCOAT and DOES I through 10
                                            the allegationsset forth in the
      105. Plaintiffreallegesand incorporates
                  asthoughfully setforth herein.
precedingparagraphs
                                                                  City of
      i 06. The MunicipalDefendantsCity of Pooler,City of Savannah,
Bloomingdale,City of Port Wentworlh,PoliceChiefsMatt Libby, Ashley Brown,
Mark Revenew and Blair Jeffcoat,as a matterof custom,ptacttceand policy,
failedto maintainadequateandpropertrainingasto the Constitutionalrightsof
                                     to preventthe consistentandsystematic
citizens,traff,rcviolators,andamestees;
useof retaliation,unlawful searchand seizure,prolongeddetention,andto prevent
extrajudicial punishmentby officers.
                                                    City of Bloomingdale,
      107. DefendantsCity of Pooier,City of Savannah,
City of Port Wentwofth,PoliceChiefsMatt Libby, AshleyBrown, Mark Revenew
                                         trainingto theirpoliceofficerson the
and Blair Jeffcoatfailedto provideadequate
                                                            seizures,and
                                        trafhc stops,searches,
properprotocolandprocedureson detentions,
                           and eachof themalsopersonallyratified,allowed,
arrestofcitizens.Defendants,
andauthorizedtheir officersto useretaliationagainstcitizensof the community.as
well asthe Plaintiff.
                                            andPoliceChiefswith
                    theseMunicipalDefendants,
      108. Therefore,,
                                 a duty to protectthe public,andthe Plaintiff
deliberateindifference,disregarded
from offi cial mrsconduct.




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        1 0 9 . T h e l a i l u r et o p r o m u l g a toer m a i n t a i cn o n s t i t u t i o n aal idye q u a t e
hainingwasdonervithdeliberateindifferenceto the rightsof the Plaintiff in this
case.
                                                        trainingas to their
        I 10. The constitutionallyinfirm lack of adequate
officersin this case,causedPlaintiffsinjunes.
                                              AS TO COUNT V
                                     STXTH CAUSE OF ACTION
                                           INJUNTIVE RELIEF
          Against STATE OF GA and NATHAN DEAL, official capacity
                                              the allegationssetforth in the
        111. Plaintiffreallegesand incorporates
precedingparagraphsas though fully set forth herein.
        112. Plaintiffis informedand believesandthereonallegesthat,unless
                  and eachof them,will continueto engagein the unlawful
enjoined,Defendants,
actsandin the policiesandpracticesdescribedabove,in violationofthe legaland
Constitutionalrightsof the Plaintiff andthe citizensof the Stateof Georgia.
        1I 3. Plaintiff facesthe real and immediatethreatof repeatedand
irreparableinjury and continuing, presentadverseeffectsas a result of the unlawful
                                                Plaintiffhasno adequateand
misconduct,policiesand practicesofthe Defendants.
completeremedyat law. Therefore,this Court shouldorder:
        A.                                                to stopusinglocal
                  This CourtshouldordertheseStateDefendants
City and County law enforcementofficers to provide securityof the construction
freewaydetails,anduseStatetrooperssinceit's a Statehighway;
        B.        This Court shouldordertheseStateDefendantsto revoke,vacate.and
suspendall peaceofficer powersto off-duty law enforcementofficersstatewide;
        C.        This CourtshouldordertheseStateDefendantsto vacateany state
law, or statutethatpermitsthird party hearsayfrom one peaceofficer to another;


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     D.     This Courl shouldorderDefendantNathanDealto isSuean executive
orderto all PoliceChiefs.and electedSheriffsdirectingthemto ceaseanddesistin
allowingtheir deputies,policeofficers,and Statetroopersfrom takinghomepolice
vehicles,and usingCity, County,and Stategascardsfor personalreasons. (1.e.,
                                                            off roading,
groceryshopping,pickingup kids at sportsevents,buyingbananas,
attendingtheir secondjobswhile operatinga policevehicleandagain,usingthe
City, County,and Stategascards;
      E.    This Court shouldorder thesestate Defendantsto decriminalizeall
traffic relatedoffenses;and
      F.    Further,this Court shouldordertheseStateDefendantsto ceaseand
desistin placingpeoplewith no moneyon probation,and for this Courtto find that
placinga personon probationfor their inabilityto pay violatesdueprocess,as well
as the FederalFourth Amendment.




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                          PRAYERFOR RELIEF
             Plaintiffpraysfor judgmentagainst
     WHEREFORE,                                        asmore
                                             theDefendant
fully setforthbelow;
      l.     Foran awardof compensatory                in theamountof
                                     andfinancialdamages
                              jointly andseverally;
             from the Defendants
$ 4,000,000.00
      2.  For specialdamages,according to proof;
     3.                                statutory
             ln additionto actualdamages,            asallowedby law'
                                               damages
     4.      For costsof suitpursuant           54(d),and28 U.S.C.$
                                   to Fed.R.Civ.P.
1920;
      5.     For anawardof punitivedamages     theindividualDefendant
                                         against
Officers;
        6.                                         to stopusinglocal
             ThisCourtshouldordertheseStateDefendants
                           officersto providesecurityof theconstructron
City andCountylaw enforcement
freewaydetails,anduseStatetrooperssinceit's a Statehighway;
      7.                                             to revoke,vacate,and
             This CourtshouldordertheseStateDefendants
                                                    officersstatewide;
      all peaceoffrcerpowersto off-dutylaw enforcement
suspend
      8.                                           to vacateanystate
             ThisCourtshouldordertheseStateDefendants
law, or statutethatpermitsthird partyhearsayfrom onepeaceofficerto another;
      9.                                NathanDealto issueanexecutive
             ThisCourtshouldorderDefendant
orderto all PoliceChiefs,andelectedSheriffsdirectingthemto ceaseanddesistin
                                                  fromtakinghomepolice
                    policeofficers,andStatetroopers
allowingtheirdeputies,
       andusingCity,County,andStategascardsfor personal
vehicles,                                                  (i.e.,
                                                     reasons.
              pickingup kidsat sportsevents,buyingbananas,
groceryshopping,                                        offroading,
        theirsecondjobs
attending                          a policevehicleandagain,usingthe
                      whileoperating
city, county,andStategascards;




                                     -)I
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       10.                                           to decriminalizeall
             This CourtshouldordertheseStateDefendants
traffic relatedoffenses;and
       11.                                                     to ceaseand
              Further,this Court shouldordertheseStateDefendants
desistin placingpeoplewith no moneyon probation,and for this Courtto find that
placinga personon probationfor their inability to pay violatesdue process,as well
as the FederalFourth Amendment.
       12.    Any andotherfurtherrelief asthis Courtdeemsjust andproper'


Respectfullysubmitted,
D a t e dM
         : a y1 , 2 0 1 8              By:
                                               AnthonvOliver..PlaintiffProSe




                            J U R YT R I A L D E M A N D E D


          submitted,
Respectfully
DatedM
     : a y1 , 2 0 1 8                  By: -
                                               AnthonvOiiver..PlaintiffProSe
